                                  United States Bankruptcy Court
                                   Eastern District of Michigan
                                        Southern Division


In re:
Rebecca A. Strausbough,                                            Case No. 09-63027-R
                    Debtor.                                        Chapter 13
_________________________________/

Rebecca A. Strausbough,
                    Plaintiff,

v.                                                                 Adv. No. 09-5692

Co-op Services Credit Union,
                     Defendant.
_________________________________/



In re:
Christopher L. Tomasi,                                             Case No. 09-68327-R
                     Debtor.                                       Chapter 13
_________________________________/

Christopher L. Tomasi,
                     Plaintiff,

v.                                                                 Adv. No. 09-6810

Citizens Bank,
                  Defendant.
_________________________________/



              Opinion Granting the Plaintiffs’ Motions for Summary Judgment and
                   Denying the Defendants’ Motions for Summary Judgment

                                                I.

       This opinion addresses the same issue in two separate adversary proceedings - whether an

individual debtor in a chapter 13 case can avoid a junior lien on entireties property. The Court




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concludes that a debtor can avoid a junior lien in these circumstances. Accordingly, the plaintiffs’

motions for summary judgment are granted and the defendants’ motions for summary judgment are

denied.

                                                   A.

          In the first case, Strausbough v. Co-op Services Credit Union, the debtor, Rebecca

Strausbough, filed for chapter 13 relief on July 24, 2009. Mrs. Strausbough and her non-filing spouse

own their primary residence as tenants by the entireties. On August 10, 2009, Mrs. Strausbough filed

this action against Co-op Services Credit Union to determine the extent of its lien. In the complaint,

Mrs. Strausbough alleges that the value of her home is $120,000, however, the amount owed to the

credit union on the first mortgage is $131,117.98. Mrs. Strausbough also has a second mortgage with

the credit union in the amount of $48,262.48.

          Mrs. Strausbough’s husband, Philip Strausbough, filed a chapter 7 case in 2008. He received

a discharge on December 30, 2008. Mr. Strausbough had signed a reaffirmation agreement on the

first and second mortgage, but later rescinded. The discharge order discharged the first and second

mortgages as to him.

          Mrs. Strausbough sought to add Mr. Strausbough as a plaintiff in this adversary proceeding,

however, her motion was denied because he lacks standing.

                                                   B.

          In the second case, Tomasi v. Citizens Bank, Christopher Tomasi filed for chapter 13 relief

on September 11, 2009. Mr. Tomasi and his non-filing spouse own their primary residence as tenants

by the entireties. On November 3, 2009, Mr. Tomasi filed this action against Citizens Bank to

determine the extent of its lien. In the complaint, Mr. Tomasi alleges that the value of his home is

$100,000. The amount owed to HSBC Mortgage on the first mortgage is $103,990.24. The amount

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owed to Citizens Bank on the second mortgage is $45,598.48.

        Mr. Tomasi’s spouse, Barbara Tomasi, filed a chapter 7 case in 2008 and received a discharge

on January 13, 2009. The discharge order discharged the first and second mortgages as to Mrs.

Tomasi.

                                                      C.

        The parties in both adversary proceedings have filed cross-motions on the issue of whether

an individual debtor can avoid a junior lien on entireties property. The Court conducted a hearing

on the motions on March 1, 2010, and took the matters under advisement.

                                                      II.

        In each case, it is clear that the debt due on the first mortgage exceeds the value of the

property. Therefore the sole issue is whether under § 506(a) and (d), a junior lien on entireties

property can be avoided in a bankruptcy case filed by only one spouse.

        The debtors contend that their requests for lien avoidance in these cases is not inconsistent

with the status of the property as entireties property because the resolution of the lien avoidance issue

will not have any effect on that status.1

        The defendants argue that because the property is held as tenants by the entirety, the debtor,

acting alone, cannot alienate, encumber or convey the property. The defendants further argue that

the debtors’ non-filing spouse is attempting to obtain the benefits of chapter 13 without having filed

for chapter 13 relief. The defendants note that the debtors’ non-filing spouses could not have avoided

the lien in their individual chapter 7 cases.


 1. The debtors further contend that because their spouses’ prior bankruptcies discharged their spouses’
 personal obligations on their mortgages, their cases are like those in which the property is held as tenants by
 the entirety, but only one spouse is liable on the note and mortgage. In light of the disposition herein, it is
 unnecessary to consider this argument.

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                                                  III.

       11 U.S.C. § 506(a) provides:

               An allowed claim of a creditor secured by a lien on property in which
               the estate has an interest . . . is a secured claim to the extent of the
               value of such creditor’s interest in the estate’s interest in such property
               . . . and is an unsecured claim to the extent that the value of such
               creditor’s interest . . . is less than the amount of such allowed claim.

11 U.S.C. § 506(a).

       A lien against property is void “[t]o the extent [such] lien secures a claim against the debtor

that is not an allowed secured claim[.]” 11 U.S.C. § 506(d).

       “Where a creditor holds a second mortgage on a homestead valued at less than the debtor’s

secured obligation to a first mortgagee, . . . the holder of the second mortgage has only an ‘unsecured

claim’ for § 506(a) purposes.” Lane v. Western Interstate Bancorp (In re Lane), 280 F.3d 663, 664

(6th Cir. 2002). Further, “[i]f a claimant’s lien on the debtor’s homestead has no value at all . . . the

claimant holds an ‘unsecured claim’ and the claimant’s contractual rights are subject to modification”

under § 1322(b)(2) of the Bankruptcy Code. Id. at 669.

       As noted, the defendants argue that because the property is held as tenants by the entirety, the

debtors in each case, acting alone, cannot avoid the lien.

       The Court concludes that this argument must be rejected. As in In re Lane, 280 F.3d at 665-

66, the analysis of whether a junior lien can be avoided begins with the language of § 506(a).

Accordingly, in the present cases, each defendant’s claim “is a secured claim to the extent of the

value of such creditor’s interest in the estate’s interest in such property[.]” 11 U.S.C. § 506(a).

       By this language, the first question is what is “the estate’s interest in such property[.]” The

second issue is what is “the value of such creditor’s interest” in that interest.



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                                                   A.

        The case law has adequately addressed the question of what is a bankruptcy estate’s interest

in entireties property. For the reasons set forth below, the Court concludes that a bankruptcy estate’s

interest in entireties property is in whatever equity is available in the entireties property that can be

liquidated for the benefit of the joint creditors of the debtor and the non-filing spouse. The Court

further concludes that in the present cases, the estate has no such interest.

        “A tenancy by the entirety is a type of concurrent ownership in real property that is unique

to married persons.” Tkachik v. Mandeville, 764 N.W.2d 318, 322 (Mich. App. 2009). This type of

concurrent ownership is intended to protect the martial estate. Id. In Rogers v. Rogers, 356 N.W.2d

288 (Mich. App. 1984), the Michigan Court of Appeals discussed the nature of entireties property:

                The classic basis for the tenancy by the entireties was the concept that
                “the husband and wife are but one person in the law”. In a true
                tenancy by the entireties, each spouse is considered to own the whole
                and, therefore, is entitled to the enjoyment of the entirety and to
                survivorship. When real property is so held as tenants by the
                entireties, neither spouse acting alone can alienate or encumber to a
                third person an interest in the fee of lands so held. Neither the
                husband nor the wife has an individual, separate interest in entireties
                property, and neither has an interest in such property which may be
                conveyed, encumbered or alienated without the consent of the other.

Id. at 293 (footnotes and citations omitted).

        The debtor’s bankruptcy estate includes “all legal or equitable interests of the debtor in

property as of the commencement of the case.” 11 U.S.C. § 541(a)(1). “This definition includes an

individual debtor’s interest in property held as tenants by the entirety.” Finneran v. Assoc. Finance

Servs. (In re Blair), 33 F.3d 54 (Table), 1994 WL 408192, *1 (6th Cir. 1994) (citing Arango v. Third

Nat'l Bank (In re Arango), 992 F.2d 611, 613-15 (6th Cir. 1993); Liberty State Bank & Trust v.




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Grosslight (In re Grosslight), 757 F.2d 773, 775 (6th Cir. 1985)).2

        In re Grosslight specifically addressed the estate’s interest in entireties property. In that

opinion, the Sixth Circuit first described and then adopted the Third Circuit’s view:

                 The Third Circuit has held that a creditor with a judgment on a joint
                 debt may levy upon the property itself and thus on the interests of both
                 spouses. The debtor’s interest in that portion of entireties property
                 reachable by joint creditors therefore is not exempt. Napotnik v.
                 Equibank & Parkvale Savings Association, 679 F.2d 316, 320-22 (3d
                 Cir. 1982)[.]

Id. at 776.

        Thus, the court held that to the extent of joint debt, a claim of entireties exemption should be

disallowed.3 As a result, the trustee is authorized to liquidate entireties property for the benefit of the

joint creditors of the individual debtor and that debtor’s non-filing spouse. In re McNamara, 273 B.R.

132, 135-36 (E.D. Mich. 2002) (“[A] timely objection to an entireties exemption may permit the

trustee to administer the entireties property for the benefit of joint creditors of the debtor and the

non-debtor spouse.”); In re Guzior, 347 B.R. 237 (Bankr. E.D. Mich. 2006) (“The non-exempt portion

of $ 5,109.92, which represents the unsecured joint debt to Discover Card, is subject to administration

by the Trustee.”); In re Smith, 246 B.R. 540, 543 (Bankr. E.D. Mich. 2000) (“Therefore, because the

joint debts to Bank of America and Comerica Bank existed on the petition date, as is reflected in

Debtor’s schedules, his later admissions, and the documents filed by the Trustee and Comerica Bank,



 2. See also In re Hunter, 970 F.2d 299, 305 (7th Cir. 1992) (“In enacting section 541, Congress intended to
 include within the bankruptcy estate a debtor’s interest in entirety property. This is revealed by legislative
 history. It is also evident in the operation of sections 363 and 522 which, when read together, allow the
 trustee to make the entirety property available to satisfy claims of joint creditors.”); In re Raynard, 327 B.R.
 623, 635 (Bankr. W.D. Mich. 2005) (“It is universally accepted among all courts that a debtor’s interest in
 entireties property becomes property of his bankruptcy estate.”).

 3. The Sixth Circuit specified that when an individual debtor claims an entireties exemption, “The proper
 procedure, of course, is to file an objection to the claim of exemptions.” Grosslight, 757 F.2d at 777.

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the Trustee is entitled to administer the entireties property to satisfy this debt to these two creditors.”).

See also Michigan Nat’l Bank v. Chrystler (In re Trickett), 14 B.R. 85, 90 (Bankr. W.D. Mich. 1981)

(“[T]his court will exercise its jurisdiction over the entireties property and administer the entireties

property for the equal benefit of all joint creditors.”).

        In Lewis v. Harlin (In re Harlin), 325 B.R. 184, 189-90 (Bankr. E.D. Mich. 2005), Judge

McIvor observed:

                  A survey of cases addressing the Trustee’s ability to sell entireties
                  property under 11 U.S.C. § 363(h) reveals that the existence of joint
                  creditors is a prerequisite to the exercise of the trustee’s right. See
                  Grant v. Himmelstein (In re Himmelstein), 203 B.R. 1009, 1015-16
                  (Bankr. M.D. Fla. 1996) (concluding “that only joint creditors can seek
                  distribution under 11 U.S.C. § 363(h)”); Price v. Harris, 155 B.R. 948,
                  949-50 (Bankr. E.D. Va. 1993) (stating that entireties property may be
                  administered by a bankruptcy trustee for the benefit of joint creditors
                  under 11 U.S.C. § 363(h)); In re Wickham, 127 B.R. 9, 11 (Bankr. E.D.
                  Va. 1990) (reasoning that “the debtor’s claim of exemption may be
                  required to give way to the trustee’s administration of the subject
                  tenancy by the entirety property insofar as there are joint creditors of
                  the debtor” and his spouse).

        These cases establish that from both a legal and a practical perspective, a bankruptcy estate’s

interest in entireties property is in whatever equity is available in the entireties property that can be

liquidated for the benefit of the joint creditors of the debtor and the non-filing spouse.

        In each case here, the value of the property at issue is less than the amount due on the first

mortgage. As a result, there is no equity available to pay joint claims. Therefore, the Court must

conclude that these estates have no interest in the entireties properties of the debtors and their non-

filing spouses.




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                                                   B.

       The next question under § 506(a) is what is the “creditor’s interest in the estate’s interest” in

the property. Plainly, because each of these bankruptcy estates has no interest in the entireties

property, the second mortgage holder has no interest in the estate’s interest in the property.

       As held in In re Lane, 280 F.3d 663, 664 (6th Cir. 2002), under the plain language of § 506(a)

and (d), the second mortgage holder’s claim is not an allowed secured claim and is therefore void.

                                                   C.

       The defendants rely on Hunter v. Citifinancial, Inc. (In re Hunter), 284 B.R. 806 (Bankr. E.D.

Va. 2002), which appears to be the only case addressing this issue. On similar facts, that case

concluded that because the property was entireties property, the debtor was not entitled to avoid the

junior lien. After a thorough and scholarly review of the Pennsylvania law of entireties property, the

court denied the relief for two reasons. First, the court stated, “The debtor’s spouse has not sought

relief under title 11. Neither she nor her interest in the Pennsylvania property is before the court. The

debtor seeks to provide her with the benefit of having filed bankruptcy without her having borne the

burden.” Id. at 813.

       Second, the court stated:

                 More importantly, however, her interest is in the whole of the
               property, per tout et non per my. The debtor and his spouse have a
               concurrent interest in the entire property. Even if the lien were
               somehow voided as to the debtor’s interest, it would remain as to the
               wife’s interest and would encumber the entire property. This could
               make a difference if the parties owned the property as tenants by the
               entireties at the time of the death of the first tenant. If the debtor were
               to predecease his wife, the property would be subject to the lien
               because his wife's interest would be subject to the mortgage lien and
               she would be the sole owner of the property. If the debtor survived his
               spouse, the lien on her interest would disappear with her interest
               leaving only the husband's interest which would not [be] encumbered.
               However, this requires a severance of a portion of the entireties estate

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                by the debtor. Pennsylvania law envisions neither such a division of a
                tenancy by the entireties estate nor the unilateral severance of any
                portion of the entireties estate.
                 The Bankruptcy Code does not assist the debtor. The only provision
                permitting the severance of an entireties estate or a unilateral action by
                one co-tenant is § 363(h). This provision expressly provides that the
                “trustee may sell both the estate’s interest” and the co-owner’s interest.
                There is no authority for the debtor to sell the property under § 363(h).

Id. (Footnote and citations omitted.)

        This Court is unpersuaded by that analysis. Initially, it must be observed that although the

review of Pennsylvania entireties law in Hunter is impressive, the decision does not analyze the value

of the junior lien holder’s interest in the estate’s interest in the entireties property, as § 506(a) requires

when the issue is whether to avoid a lien under § 506(d). The opinion simply comes to the conclusion

that the avoidance of the junior lien would result in a severance of the entireties estate in violation of

Pennsylvania entireties law. But that logic is circular, for the simple reason that if under the

Bankruptcy Code the lien avoidance is held to be effective as to both the debtor and the non-filing

spouse, there is no such improper severance.

        Similarly without analytical foundation is the Hunter court’s crucial conclusion, quoted above,

that “Even if the lien were somehow voided as to the debtor’s interest, it would remain as to the wife’s

interest and would encumber the entire property.” Id. It rather appears to be a link in the same chain

of circular logic.

        This Court appreciates the Hunter court’s concern that the non-filing spouse’s property is not

before the bankruptcy court in these cases, as well as its further concern that the debtor is seeking to

use the Bankruptcy Code to benefit the non-filing spouse without the resulting burdens. Ultimately,

however, the issue is one of Congressional intent: Did Congress intend to allow the avoidance of a

junior lien on entireties property when only one spouse files bankruptcy? While the concerns


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expressed by the Hunter court certainly should be considered in determining whether Congress so

intended, they are not determinative. Of substantially greater weight, however, is the statute itself,

which, as developed above, allows a junior lien to be avoided whether both spouses have assumed the

burdens of bankruptcy or only one.

       The reality is that every day, bankruptcy courts construe and apply chapter 13 in ways that

benefit non-filing spouses. The most important of these benefits is probably the benefit that the non-

filing spouse enjoys when his or her spouse files a chapter 13 case for the purpose of maintaining

possession of the entireties property while curing the default in the mortgage on the property. Nothing

in the Bankruptcy Code requires both parties to join in the filing for both of them to obtain that

benefit. Similarly, nothing in the Bankruptcy Code requires a joint filing in a chapter 13 case to obtain

the benefits of lien avoidance under § 506(a) and (d). In each instance, the incidental benefit to the

non-filing spouse results from the fair application of the language of the Bankruptcy Code. That

incidental benefit, by itself, is not grounds for a different result in either circumstance.

       Finally, it must be concluded that the avoidance of a junior lien on entireties property at the

request of one spouse is completely consistent with the function and effect of entireties law. As the

Hunter court stated most succinctly:

               The tenants by the entirety enjoy certain rights. They both enjoy the
               right to possession and use of the entire property and the right to
               exclude third parties from the property. The property is not subject to
               the debts of either party but only joint debts of both the parties. Neither
               party may alien, convey or encumber his or her interest although both
               together can alien, convey or encumber the estate. They may not by
               their individual act sever the tenancy although they may do so by their
               joint act. The property vests in the survivor of the parties and is not
               subject to any provision of a will of the first party to die.

Id. at 811. (Citations omitted.) See also Rogers v. Rogers, 356 N.W.2d 288 (Mich. App. 1984).

       Significantly, nothing in that catalogue of rights prohibits one of the parties to an entireties

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estate from acting to enhance that estate. Indeed, such enhancements of an entireties estate by one

party are quite common outside of bankruptcy. For example, one party can make a payment on a joint

mortgage on the entireties property, or can pay for an improvement on the property, or can pay the

taxes on the property. Similarly, the filing spouse’s action to avoid the junior lien under the

Bankruptcy Code is fairly characterized as an action to enhance the entireties estate. It is certainly not

an action to “alien, convey or encumber his or her interest,” as prohibited by entireties law.

        Accordingly, the Court concludes that nothing in state law or the Bankruptcy Code precludes

these plaintiffs from avoiding the junior liens on their entireties properties, and they are otherwise

entitled to the relief that they seek. The plaintiffs’ motions for summary judgment are granted and the

defendants’ motions for summary judgment are denied.

        The plaintiffs may submit appropriate judgments.



For Publication.
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Signed on March 25, 2010
                                                                         /s/ Steven Rhodes
                                                                 Steven Rhodes
                                                                 United States Bankruptcy Judge




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